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       Pro Se l5 (Rev. l2l16) Complaint for Violation of Civil Rights (Non-Prisoner)




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                                                                                   for the

                                                                                 District of

                                                                                       Division                 24- 0 15 1g
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       please write "see attached" in the space and attach an additional               )
       page with the full list of names.)
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       (Write the full name of each defendant who is being sued. If the                )
       names of all the defendants cannot fit in the space above, please
       write "see attached" in the space and attach an additional page
       with the full list of names. Do not include addresses here.)

      Dr. Kalxrtzr,vt Ku rucl, S tumw('t{L
Vu. C c\qt trt- ?l'o/rm"o" ")                                      FOR VIOLATION OF CIVIL RIGHTS
                                                                   Q.{on-Prisoner Complaint)


                                                                                  NOTICE

            Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
            electronic court files. Under this rule, papers filed with the court should not contain'. an individual's full social
            security number or full birth date; the full name of a person known to be a minor; or a complete financial account
            number. A filing may include only: the last four digits of a social security number; the year of an individual's
            birth; a minor's initials; and the last four digits of a financial account number.

            Except as noted in this form, plaintiffneed not send exhibits, afiidavits, grievance or witness statements, or any
            other materials to the Clerk's Offjce with this complaint.

            In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
            forma pauperis.




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Pro Se 15 (Rev. 12116) Complaint for Violation of Civil Rights (Non-Prisoner)


L         The Parties to This Complaint

          A.         The Plaintiff(s)


                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
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           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a govemment agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known) and check whether you are bringing this complaint against
                      them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant No. 1

                            Name                                           Xcrvi sr                    IV      Sr               DF LOrr.tSiOuna.
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                            E-Mail Address (if known)

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                      Defendant No. 2
                            Name                                                                               !-           I
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Pro Se l5 (Rev. l2116) Complaint for Violation of Civil Rights (Non-Prisoner)



                     Defendant No. 3
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                            E-Mail Address (if known)

                                                                         E tndividual capacity E Ofn"iut capacity

                      Defendant No. 4
                            Name
                            Job or Title ftf l<nown)
                            Address


                                                                                   Citv             State            Zip Code
                            County
                            Telephone Number
                            E-Mail Address (if known)

                                                                          E Individualcapacity E Ofnciat capacity
U.         Basis for Jurisdiction

           Under 42 U.S.C. $ 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
           immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unlmown Named Agents of
           Federal Bureau of Narcotics, 403 U.S. 388 ( 197 1), you may sue federal officials for the violation of certain
           constitutional rights.

           A.         Are you bringing suit against (check all that apply)

                       n Federal officials (a Bivens claim)
                       M Stut" or local officials (a $ 1983 claim)
            B         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                      the Constitution and [federal laws]." 42 U.S.C. $ 1983. If you are suing under section 1983, what
                      federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
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            C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                       are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                       officials?


                                                                                                                                Page 3 of 6
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               D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                          statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                          42 U.S.C. $ 1983. If you are suing under section 1983, explain how each defendant acted under color
                          of state or local law. If you are suing tnder Bivens, explain how each defendant acted under color of
                          federal law. Attach additional pages if needed.




    [I.       Statement of Claim

              State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
              alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
              further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
              any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
              statement of each claim in a separate paragraph. Attach additional pages if needed.


              A.          Where did the events giving rise to your claim(s) occur?
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              B.          What date and approximate time did the events giving rise to your claim(s) occur?

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              C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                          Was arryone else involved? Who else savt what happened?)

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      IV       Injuries

               lf you sustained injuries related to the events alleged above, describe your injuries and state what medical
               treatment, if any, you required and did or did not receive.

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      V.       Relief

               State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
               If requesting money damages, include the amounts of any actualdamages and/or punitive damages claimed for
               the acts alleged. Explain the basis for these claims.


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VI.      Certification and Closing

         Under Federal Rule of Civil Procedure 1 I , by signing below, I certifo to the best of my knowledge, information,
         and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modiffing, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
         requirements of Rule I l.



         A.           For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.


                      Date of signing: 0 k.                        )a>

                      Signature of Plaintiff
                      Printed Name of Plaintiff                   Vt                   Cuv

          B.          For Attorneys

                      Date of signing:


                      Signature of Attorney
                      Printed Name of Attorney
                      Bar Number
                      Name of Law Firm
                      Address


                                                                                City         State           Zip Code

                      Telephone Number
                       E-mail Address




                                                                                                                         Page 6 of 6
